                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                   3:03-CR-219-MU

UNITED STATES OF AMERICA            )
                                    )
      v.                            )
                                    )
ANEWA TIARI-EL,                     )                                 ORDER
                                    )
            Defendant.              )
                                    )
____________________________________)

       THIS MATTER comes before the Court upon Defendant’s undocketed Motion for Extension

of Time to Serve Objections to Presentence Report. For good cause shown, the motion is

GRANTED. Accordingly, the time for filing objections, corrections, and proposed variances to the

presentence report is extended to thirty (30) days from the entry of this order.

       IT IS SO ORDERED.




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                       Signed: January 20, 2006




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